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 9
                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11
     THE UNITED STATES OF AMERICA, ) No. 12-cr-00169MCE
                      Plaintiff,        )
12                                      ) STIPULATION AND
           v.                           ) ORDER TO CONTINUE
13
                                        ) STATUS CONFERENCE
14                                      )
     ERIC ROBINSON,                     )
15
                                        ) Date: 11-12-2015
16                    Defendant.        ) Time: 9:00 a.m.
     ________________________________) Judge: Hon. Morrison C. England
17

18                  Plaintiff United States of America, by and through its counsel of record,

19   and defendant Eric Robinson, by and through his counsel of record, hereby stipulate as
20
     follows:
21
           1.       By previous order, this matter was set for status November 6, 2015.
22

23         2.       By this stipulation, defendant now moves to continue the status
24
     conference until November 12, 2015, and to exclude time between November 6, 2015
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     and November 12, 2015, under Local Code T4. Plaintiff does not oppose this request.
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27         3.       The parties agree and stipulate, and request that the Court find the
28   following:


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 1          a.       The government has represented that the discovery associated with this
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     case includes approximately 1, 952 pages of investigative reports and related documents
 3
     in electronic form and many hours of recorded telephone calls. All of this discovery has
 4

 5   been either produced directly to counsel and / or made available for inspection and
 6
     copying.
 7
            b.       Counsel for defendant desires additional time to complete the review of
 8

 9   discovery, to conduct defense investigation, and to discuss potential resolution with her
10
     client. Counsel has also been continuing to engage in negotiations with the government.
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     In particular, Mr. Robinson has a current pending matter in Solano County that the
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13   government and counsel are attempting to negotiate a global resolution. Negotiations

14   with the county prosecutor and the government are ongoing. The parties involved have
15
     been working diligently to reach a resolution and are very close. An offer has been
16
     extended to Mr. Robinson and counsel needs time to discuss this offer with him.
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18          c.       Counsel for defendant believes that failure to grant the above-requested
19
     continuance would deny her the reasonable time necessary for effective preparation,
20
     taking into account the exercise of due diligence.
21

22          d.       The government does not object to the continuance.

23          e.       Based on the above-stated findings, the ends of justice served by
24
     continuing the case as requested outweigh the interest of the public and the defendant in
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26
     a trial within the original date prescribed by the Speedy Trial Act.

27          f.       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.
28
     § 3161, et seq., within which trial must commence, the time period of November 6,


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 1   2015 to November 12, 2015, inclusive, is deemed excludable pursuant to 18 U.S.C.§
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     3161(h)(7)(A), B(iv) [Local Code T4] because it results from a continuance granted by
 3
     the Court at defendant’s request on the basis of the Court's finding that the ends of
 4

 5   justice served by taking such action outweigh the best interest of the public and the
 6
     defendant in a speedy trial.
 7
            4.     Nothing in this stipulation and order shall preclude a finding that other
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 9   provisions of the Speedy Trial Act dictate that additional time periods are excludable

10   from the period within which a trial must commence.
11
     IT IS SO STIPULATED.
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13
     Dated: November 3, 2015                         Respectfully submitted,

14                                                   /s/ Kelly Babineau
                                                     KELLY BABINEAU
15
                                                     Attorney for Eric Robinson
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17
     Dated: November 3, 2015                         /s/ Jason Hitt
18                                                   Kelly Babineau for:
                                                     JASON HITT
19                                                   Assistant U.S. Attorney
20

21                                         ORDER
22
            IT IS SO ORDERED.
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24
     Dated: November 10, 2015
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